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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                              CASE NO. 14-23436-CIV-COOKE


  ROSALEE WILLIAMS, as “Presumptive”
  Personal Representative of the Estate
  Timmie Williams on behalf of the Estate of
  Timmie Williams, Rosalee Williams, surviving
  Parent of Timmie Williams and George
  Williams-Hankins, brother of Timmie Williams,
                Plaintiff,
  v.
  MIAMI-DADE COUNTY,
  a political subdivision and Florida
  Division of Financial Services, and
  JORDAN FRIED, individually,
              Defendants.
  _________________________________________/

   MIAMI-DADE COUNTY’S ANSWER, DEFENSES, AND AFFIRMATIVE DEFENSES
                  TO SECOND AMENDED COMPLAINT

         Defendant Miami-Dade County hereby files its Answer, Defenses, and Affirmative

  Defenses to Plaintiffs’ Second Amended Complaint (“SAC”) and asserts the following defenses:

         1.     Defendant denies Paragraph 1.

         2.     Defendant denies Paragraph 2.

         3.     Defendant admits Paragraph 3.

         4.     Defendant denies Paragraph 4.

         5.     As to Paragraph 5 of the SAC, Defendant denies that Rosalee Williams is the

  Personal Representative of the Estate of Timmie Williams. Defendant is without knowledge as to

  whether Rosalee Williams will soon be appointed Personal Representative of the Estate of

  Timmie Williams and thereby denies the same.
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          6.    Defendant is without knowledge as to Paragraph 6 of the SAC and thereby denies

  the same.

          7.    Defendant admits Paragraph 7.

          8.    Defendant admits Paragraph 8.

          9.    Defendant is without knowledge as to Paragraph 9 of the SAC and thereby denies

  the same.

          10.   Defendant is without knowledge as to Paragraph 10 of the SAC and thereby

  denies the same.

          11.   Defendant is without knowledge as to Paragraph 11 of the SAC and thereby

  denies the same.

          12.   Defendant admits Paragraph 12.

          13.   Defendant admits that officers from the Miami-Dade Police Department arrived

  on the scene, but denies the remaining allegations in Paragraph 13 of the SAC.

          14.   Defendant admits Paragraph 14.

          15.   Defendant admits that there were people fighting in the street, but is without

  knowledge as to the remaining allegations in Paragraph 15 of the SAC and thereby denies the

  same.

          16.   Defendant admits that the officers observed that someone had been stabbed, but

  denies the remaining allegations in Paragraph 16 of the SAC.

          17.   Defendant admits that the officers received information that someone at the scene

  was armed, but denies the remaining allegations in Paragraph 17 of the SAC.

          18.   Defendant denies Paragraph 19.




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         19.    Defendant is without knowledge as to Paragraph 19 of the SAC and thereby

  denies the same.

         20.    Defendant denies Paragraph 20.

         21.    Defendant denies Paragraph 21.

         22.    Defendant denies Paragraph 22.

         23.    Defendant denies Paragraph 23.

         24.    Defendant admits Paragraph 24.

         25.    Defendant is without knowledge as to Paragraph 25 of the SAC and thereby

  denies the same.

         26.    Defendant is without knowledge as to Paragraph 26 of the SAC and thereby

  denies the same.

                                            COUNT I

         27.    Defendant realleges all of its responses to Paragraphs 1-26.

         28.    Defendant denies Paragraph 28 (improperly numbered Paragraph 26 in the SAC).

         29.    Defendant denies Paragraph 29.

         30.    Defendant denies Paragraph 30.

         31.    Defendant admits Paragraph 31.

         32.    Defendant denies Paragraph 32.

                                            COUNT II

         33.    Defendant realleges all of its responses to Paragraphs 1-26.

         34.    Defendant admits paragraph 34 of the SAC.

         35.    Defendant is without knowledge as to Paragraph 35 of the SAC and thereby

  denies the same.



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         36.     Defendant is without knowledge as to Paragraph 36 of the SAC and thereby

  denies the same.

         37.     Defendant denies Paragraph 37.

         38.     Defendant admits Paragraph 38.

         39.     Defendant denies Paragraph 39.

         40.     Defendant denies Paragraph 40.

                                                COUNT III

         This count is directed at Sergeant Jordan Fried (“Sergeant Fried”), another defendant, not

  Miami-Dade County.1 Accordingly, no response to the allegations in Count III is required.

                          DEFENSES AND AFFIRMATIVE DEFENSES

         1.      Plaintiffs’ damages, if any, were the result, either in whole or in part, of the

  negligence or wrongdoing of Timmie Williams (“Williams”). Therefore, Plaintiffs’ claims are

  barred or reducible to the full extent thereof.

         2.      Plaintiffs’ damages, if any, are barred or reducible in each instance that Plaintiffs

  failed to mitigate damages.

         3.      The SAC fails to state a claim upon which relief can be granted under Rules

  12(b)(6) and 12(c) of the Federal Rules of Civil Procedure.

         4.      To the extent that Williams suffered any injuries as a result of facts alleged in the

  SAC, Defendant is not the proximate cause of those injuries.

         5.      Defendant owed no duty to Williams, and therefore Plaintiffs cannot plead a

  cognizable claim for negligence against it.




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    The undersigned has spoken with counsel for the Plaintiffs who stipulated that Count III is
  intended to be brought against Sergeant Fried only.
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         6.       Plaintiffs’ claim is barred by sovereign immunity and the discretionary function

  doctrine. Sergeant Fried’s decisions with regard to the incident are ones for which he is entitled

  to exercise discretion.

         7.       Plaintiffs’ damages, if any, were the result, either in whole or in part, of the acts

  of third parties at the scene over whom Defendant had no control.

         8.       Plaintiffs’ damages, if any, are barred or reducible in each instance that Plaintiff

  failed to mitigate damages.

         9.       Defendant is entitled to an apportionment of damages pursuant to Florida Statues

  Section 768.81 to account for the negligent acts committed by Williams and others.

         10.      Plaintiffs’ lawsuit is barred because Sergeant Fried acted reasonably in using

  deadly force against Williams.

         11.      Plaintiffs’ claim is barred to the extent that Plaintiff is suing for any alleged force

  Sergeant Fried used in defense of himself and/or others. Sergeant Fried was justified in using

  force against Williams because Williams posed an immediate threat of deadly harm to them, and

  the surrounding bystanders.

         12.      Sergeant Fried was justified in any use of force as to Williams.

         13.      Sergeant Fried was reasonable in any use of force as to Williams.

         14.      Any alleged use of force was authorized by Florida law, including but not limited

  to sections 776.05, 776.012, 776.032, and 776.085 of the Florida Statutes, and Defendant could

  reasonably rely on such statutory authority. Williams was brandishing a knife and threatening a

  third person.




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         15.     Defendant is immune from suit because Sergeant Fried’s use of force was

  justified pursuant to Florida Statutes Section 776.032. Williams was brandishing a knife and

  threatening a third person.

         16.     Defendant is entitled to recover its attorney’s fees incurred in the defense of this

  action because Sergeant Fried’s use of force was justified and he is immune from suit pursuant to

  Florida Statutes Section 776.032.

         17.     Defendant is entitled to a setoff for all insurance or other proceeds received by

  Plaintiff for any alleged injuries or alleged damages, as well as for the costs incurred by the

  Defendant in this federal proceeding.

         18.     Rosalee Williams and George Williams-Hankins are not proper parties as they are

  not personal representatives of the estate of Timmie Williams.

         19.     Defendant would show that the sole legal cause of the incident sued upon was the

  carelessness, inadvertence and negligence of Williams and that he knowingly, willfully, and

  voluntarily assumed the risk of the happening of the incident and, therefore, the Plaintiffs are not

  entitled to recover from Defendant as alleged.

         20.     Plaintiffs’ injuries and/or damages, if any, are the result of an act of a known or

  unknown third party whose actions were not under the dominion or control of Defendant and any

  recovery therefrom should be barred to the full extent thereof.

         21.     Plaintiffs have not suffered a discernible physical injury as a result of any alleged

  action taken by Defendant or Sergeant Fried.

         22.     Plaintiffs have not suffered a discernible physical injury caused by psychic trauma

  sustained by any alleged action taken by Defendant or Sergeant Fried.




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          23.    Defendant alleges the injuries claimed by Williams, were caused by the

  negligence of Williams and/or the negligence of a third party and were not solely caused by the

  negligence, if any, of the Defendant, thereby bringing this cause within the Doctrine of

  Comparative Negligence, thereby reducing and/or barring claim for the Plaintiffs.

          24.    The action or portions of it are barred by the Doctrine of Sovereign Immunity,

  and the SAC fails to state a cause of action because the acts and/or omissions complained of are

  governmental planning level policy decisions which may not form the basis of traditional tort

  liability.

          25.    Defendant denies that Plaintiff, Rosalee Williams, as Presumptive Personal

  Representative of the Estate of Timmie Williams, has complied with all notice requirements and

  conditions precedent to bringing this action under Section 2-2 of the Miami-Dade County Code.

          26.    The alleged negligence complained of was not the legal cause of damages as

  alleged in the SAC; therefore, the SAC fails to state a cause of action.

          27.    Defendant is entitled to a set-off from any recovery against it to the extent that the

  value of all benefits received by or paid on behalf of the Plaintiff from any collateral source.

          28.    Service of process is improper.

          29.    Plaintiffs have failed to show or comply with Florida Statute 768.28(7) requiring

  service of process upon the Department of Financial Services.

          30.    Williams knew of the existence of the danger complained of in the SAC, realized

  and appreciated the possibility of injury as a result of the danger and, having a reasonable

  opportunity to avoid it, voluntarily exposed himself to the danger.

          31.    Plaintiffs fail to allege compliance with Fla. Stat. § 768.28(6).




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         32.     William’s actions were superceding, intervening causes of the death and such

  causes exculpate Defendant.

         33.     George Williams-Hankins is an improper Plaintiff. He may not sue individually

  under the Wrongful Death Act.

         34.     Count I of the SAC is improperly pled. There is no cause of action alleged.

  Statements, such as Paragraph 30, that the shooting is “without lawful justification” do not create

  a cause of action. There are no elements alleged in Count I of any tort.

         35.     The SAC bars any action against the Defendant to the extent that it characterizes

  Sergeant Fried’s actions as malicious, wanton and willful, reckless or bad faith or outside the

  scope of the officer’s employment.

         36.     Defendant reserves the right to assert additional defenses as appropriate.

         WHEREFORE, Defendant Miami-Dade County respectfully requests that this Court

  dismiss the claim against it with prejudice and/or enter judgment in Defendant’s favor; that the

  Court award Defendant attorney’s fees, litigation expenses, and costs, in accordance with

  applicable federal and state law; and that the Court award Defendant such other relief as the

  Court deems proper, equitable, and just.

         Dated: July 29, 2016                          Respectfully submitted,

                                                       By:      s/ Erica Zaron
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                                                             County and Jordan Fried

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served on July 29, 2016

  on all counsel or parties of record in the manner indicated on the Service List below.


                                               ____s/ Erica Zaron___________________
                                               Assistant County Attorney


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